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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

DORIS A. NELSON,

                 Plaintiff,

        v.                                                    Case No.: 1:23-cv-6387

AMAZON.COM.DEDC,                                              Honorable John F. Kness

                 Defendant.


                         DEFENDANT’S ANSWER AND DEFENSES TO
                         PLAINTIFF’S FIRST AMENDED COMPLAINT1

        Defendant Amazon.com Services LLC (“Amazon”),2 by and through its undersigned

attorneys, hereby file this Answer and Defenses to Plaintiff Doris A. Nelson’s (“Plaintiff’) First

Amended Complaint (“FAC”). This Answer does not include responses to any headings or

subheading. To the extent any of the headings or subheadings in the FAC contain factual

averments, Defendant denies those allegations. Defendant denies and avers as follows:

        1.       PLAINTIFF, DORIS NELSON (“NELSON”), is a female who resides in Kane

County Illinois.

        ANSWER:           Amazon admits that, based on information contained in its personnel

records, Plaintiff identifies as female and her last known address on file is in Kane County, Illinois.

        2.       DEFENDANT, Amazon.com.dedc,LLC (“Employer”) is a business located in

Kane County, Illinois. Defendant engaged in business that affects interstate commerce that



1
  The headings and allegations included in this Answer are derived from the headings and allegations included in the
FAC and are included herein for ease of reference only. Additionally, all typographical and grammatical errors in
numbered paragraphs are original to the FAC.
2
  Effective January 1, 2019, Amazon.com.dedc LLC was merged into Amazon.com Services, Inc. Effective December
30, 2019, Amazon.com Services, Inc. was renamed Amazon.com Services LLC. Therefore, Amazon.com Services
LLC is the proper name of the corporate defendant and is Plaintiff’s current employer.
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employs 20 persons or more persons within Illinois during at least 20 weeks of a year including

2022, 2023 and 2024.

       ANSWER:         Amazon admits that Plaintiff has been employed by Amazon.com Services

LLC as a Fulfillment Associate at its MDW9 location in DuPage County, Illinois. Amazon further

admits it employs more than 20 people within Illinois during at least 20 weeks of the year,

including in years 2022, 2023, and 2024. Amazon denies the remaining allegations in Paragraph

2.

       3.      Jurisdiction over the statutory violation alleged is conferred as follows: for Title

VII claims by 28 U.S.C.§1331, 28 U.S.C.§1343(a)(3), and 42 U.S.C.§2000e-5(f)(3) as well as

supplemental jurisdiction from State claims.

       ANSWER:         Amazon admits the allegations in Paragraph 3 for purposes of this action.

       4.      Plaintiff was an employee of Defendant 42 USC § § 2000e(f).

       ANSWER:         Amazon admits the allegations in Paragraph 4 for purposes of this action.

       5.      Defendant is an employer as defined by 42 USC § 2000e(b).

       ANSWER:         Amazon admits the allegations in Paragraph 5 for purposes of this action.

       6.      Venue is proper in this Court as Defendant is located in Cook County Illinois and

acts and occurrences occurred in Cook County Illinois.

       ANSWER:         Amazon admits venue is proper in this Court for purposes of this action, but

denies the remaining allegations in Paragraph 6.

       7.      Plaintiff timely filed a charge of discrimination under the with the Equal

Opportunity Commission (“EEOC”) in 2018 and it was cross filed with Illinois Department of

Human Rights (“IDHR”). Said is attached as Exhibit 1. Plaintiff filed a second charge of

discrimination in 2022. See exhibit 2.



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       ANSWER:         Amazon admits Plaintiff filed a charge of discrimination with the EEOC

and it was cross-filed with the IDHR, and that a copy of what purports to be the charge is attached

to the FAC as Exhibit 1. Amazon further admits Plaintiff filed a second charge of discrimination

in 2022 and that a copy of what purports to be the charge is attached to the FAC as Exhibit 2.

Amazon denies the remaining allegations in Paragraph 7.

       8.      The EEOC issued a final determination to Plaintiff finding probable cause on the

first charge of discrimination. A copy of that charge is attached hereto as Exhibit 3.

       ANSWER:         Amazon admits Plaintiff filed a copy of what purports to be a Letter of

Determination from the EEOC. The allegations in Paragraph 12 further purport to characterize the

Letter of Determination. Amazon denies those allegations to the extent they mischaracterize and

do not fully represent the Letter of Determination.

       9.      The EEOC attempted to get reconciliation due to the finding of probable cause. The

EEOC failed to act, and Plaintiff asked for a right to sue letter.

       ANSWER:         The first sentence in Paragraph 9 relates to confidential conciliation

discussions subject to Federal Rule of Evidence 408 and, therefore, no response is required.

Amazon lacks knowledge or information sufficient to form a belief as to the truth of the remaining

allegations in Paragraph 9 and, therefore, denies the allegations.

       10.     The EEOC sent notification by email to Plaintiff’s former attorney on May 26,

2023, that something was placed on the EEOC portal. A few days later Plaintiff or her counsel

opened the portal and found that both right to sue letters were issued. A Copy of the Right to sue

letters are attached hereto as Exhibit 4.




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        ANSWER:         Amazon admits it received copies of EEOC issued Right to Sue Letters

dated May 26, 2023. Amazon lacks knowledge or information sufficient to form a belief as to the

truth of the remaining allegations in Paragraph 10 and, therefore, denies the allegations.

        11.     Plaintiff’s former counsel retired, and she could not find legal representation.

Plaintiff filed this case pro se on August 24, 2023, to the clerk’s office via the help desk for pro se

litigants. Her initial filing sent on August 24, 2024, had the complaint (Docket #1) Civil Cover

Sheet (Docket Number 2), Pro se Appearance (Docket # 3) a request for waiver of fees to proceed

informa Pauperis (Docket # 4) , a motion for attorney representation (Docket 5). Plaintiff spoke to

the clerk’s office and was told they would file stamp it in but that it might be until after the weekend

due to the workload of the clerk. The clerk file stamped the case on August 28, 2023. Plaintiff

submitted her complaint, motion to waive the filing fee, and other documents on May 24, 2024, to

the Clerk with the Help Desks help on August 24, 2023.

        ANSWER:         Amazon lacks knowledge or information sufficient to form a belief as to the

truth of the allegations contained in Paragraph 11 regarding Plaintiff’s prior counsel and Plaintiff’s

communications with and actions of the Court Clerk and Help Desk and, therefore, denies the

allegations. The remaining allegations in Paragraph 11 purport to characterize various documents

filed with the Court. Amazon denies those allegations to the extent they mischaracterize and do

not fully represent the filed documents.

        12.     On or about March 21, 2024, the Court denied Plaintiff’s motion for informa

Pauperis and Motion for Counsel without prejudice. The Court gave Plaintiff until April 12, 2024,

to pay the filing fee. (Docket 11) Plaintiff paid the filing prior to April 12, 2024, and Court noted

it on April 6, 2024 (Docket # 13).




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         ANSWER:       The allegations in Paragraph 12 purport to characterize a Court Order and

other documents filed with, and payments made to the Court. Amazon denies those allegations to

the extent they mischaracterize and do not fully represent the Court’s Order and filed documents.

         13.   Plaintiff submitted her Complaint to the Clerk’s office within 90 days of Plaintiff

receiving the right to sue letter from the EEOC.

         ANSWER:       Amazon denies the allegations in Paragraph 13.

         14.   Plaintiff has contacted the Illinois Department of Human Rights (“IDHR”) and has

requested a notice to opt out of her claims with the IDHR. Once the IDHR responds to her request

and issues the opt out letter Plaintiff will seek to add those causes of action.

         ANSWER:       Amazon lacks knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 14 and, therefore, denies the allegations.

         15.   Plaintiff began working for Defendant in late 2017.

         ANSWER:       Amazon admits the allegations in Paragraph 15.

         16.   Plaintiff and other females who work for Defendant were subjected to Sexual and

racial harassment from Noah De Vries (“De Vries”) who is male. De Vries made numerous vulgar

comments to Plaintiff and others about race and inappropriate sexual comments. De Vries also

offensively touched Plaintiff and other employees of Defendant without their consent. De Vries

also threatened to kill employees for making complaints against him/or doing anything to get him

fired.

         ANSWER:       Amazon admits that based on its personnel records, DeVries, a former

Amazon employee, identifies as male. Amazon further admits that during its investigation

immediately following a complaint from Plaintiff, Amazon substantiated Plaintiff’s claim that




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DeVries used disrespectful language in the workplace. Amazon denies the remaining allegations

in Paragraph 16.

       17.     The abusive actions and comments of De Vries even caused Plaintiff to go on leave

due to the stress and negative effects to her health from De Vries actions. The racial and sexual

harassment became so bad that Plaintiff filed for a protective order against De Vries.

       ANSWER:         Amazon admits that Plaintiff filed two additional complaints involving

DeVries and Plaintiff’s failure to meet expectations. Amazon further admits that, during the

overlapping investigations, it offered (and Plaintiff accepted) a paid leave of absence. Amazon

lacks knowledge or information sufficient to form a belief as to the truth of whether Plaintiff filed

for a protective order against DeVries and, therefore, denies the allegation. Amazon denies the

remaining allegations in Paragraph 17.

       18.     While employed by Defendant, DeVries for several months sexually and racially

harassed numerous individuals who worked for Defendant. DeVries’ actions were known to

Defendant.

       ANSWER:         Amazon denies the allegations in Paragraph 18.

       19.     During 2017 and 2018, Plaintiff and other employees of Defendant made several

complaints to Defendant’s supervisors, managers and Defendant Human Resources Department

about Noah De Vries’s unlawful discrimination, actions, and abusive comments. The complaints

by employees to Defendant included threats by DeVries to other employees and DeVries touching

other employees without the employees consent.

       ANSWER:         The first sentence in Paragraph 19 contains legal conclusions to which no

response is required. To the extent a response is required, Amazon admits that it received

complaints related to DeVries. Amazon further states that it terminated DeVries after he admitted



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to using inappropriate language and touching other employees (not Plaintiff) without their consent.

Amazon denies the remaining allegations in Paragraph 19.

       20.     At least two of other employees of Defendant besides Plaintiff filed charges of

discrimination with the Equal Employment Opportunity Commission. The EEOC has found that

there was probable cause that Defendant violated Title VII. The EEOC has attempted to try get

resolution for the other aggrieved woman, but to date it appears that nothing has been finalized.

       ANSWER:        Amazon admits two other employees filed charges of discrimination with

the EEOC in which they raised concerns regarding DeVries. The second sentence in Paragraph

20 purports to characterize Letters of Determination issued by the EEOC. Amazon denies those

allegations to the extent they mischaracterize and do not fully represent the Letters of

Determination. The remaining allegations in Paragraph 20 relate to confidential conciliation

discussions subject to Federal Rule of Evidence 408 and, therefore, no response is required.

       21.     De Vries’s sexual and racial harassment to women who worked for Defendant was

done out in the open and observed by many employees and management of Defendant.

       ANSWER:        The allegation in Paragraph 21 regarding DeVries’s conduct purportedly

being “sexual and racial harassment” constitute legal conclusions to which no response is required.

Amazon states its investigations did not substantiate any comments made by DeVries toward

Plaintiff. Amazon further states it terminated DeVries after he admitted to using inappropriate

language and touching other employees (not Plaintiff) without their consent. Amazon denies the

remaining allegations in Paragraph 21.

       22.     Defendant has a policy relating to harassment and or bullying. Defendant asserts

that they will not allow its employees to be sexually harassed or bullied by employees.

       ANSWER:        Amazon admits the allegations in Paragraph 22.



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        23.    A male employee talking about his penis to a woman employee would violate

Defendant’s sexual harassment policy.

        ANSWER:        Amazon admits the allegations in Paragraph 23.

        24.    A male employee touching other employees breasts or buttocks without her consent

would violate Defendant’s sexual harassment policy.

        ANSWER:        Amazon admits the allegations in Paragraph 24.

        25.    A male employee touching and caressing other employees shoulders without their

consent would violate Defendant’s sexual harassment policy.

        ANSWER:        Amazon admits the allegations in Paragraph 25.

        26.    Using the word “N” word in front of an employee would violate Defendant’s Racial

harassment policy.

        ANSWER:        Amazon denies it has a policy titled “Racial harassment policy,” but admits

such conduct would violate its harassment policy, which prohibits discriminatory harassment,

including on the basis of race.

        27.    Threatening to kill an employee is also a violation of Defendant’s policy for no

bullying and or other policies of Defendant.

        ANSWER:        Amazon admits the allegations in Paragraph 27.

        28.    Defendant has an obligation to keep employees safe at work. Defendant knowingly

failed to keep employees such as Plaintiff safe at work from De Vries.

        ANSWER:        The allegation in the first sentence of Paragraph 28 constitutes a legal

conclusion to which no response is required. Amazon denies remaining allegations of Paragraph

28.




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       29.     Plaintiff complained to Defendant about the sexual and Racial harassment she was

experiencing from De Vries to Human Resources in December 2017.

       ANSWER:         Amazon admits Plaintiff complained that DeVries had used disrespectful

language at work and had danced inappropriately (i.e., twerked). Amazon further admits that in

or around January 2018, Plaintiff complained DeVries’s conduct was directed indiscriminately

toward all associates. Amazon denies the remaining allegations in Paragraph 29.

       30.     Plaintiff made a written complaint against De Vries due to his actions in January

2018. Defendant communicated to Plaintiff that De Vries was on a final written warning when she

made her first complaint.

       ANSWER:         Amazon admits Plaintiff made a written complaint concerning DeVries in

January 2018. Defendant denies the remaining allegations in Paragraph 30.

       31.     Defendant communicated to Plaintiff that De Vries was on a final written warning

when she made her first complaint.

       ANSWER:         Defendant denies the allegations in Paragraph 31.

       32.     After Plaintiff made complaints of discrimination to Human resources and her

supervisor, Defendant started to retaliate against Plaintiff.

       ANSWER:         Amazon denies the allegations in Paragraph 32.

       33.     Plaintiff made a second complaint in writing about De Vries’ harassment on

February l, 2018.

       ANSWER:         Amazon admits Plaintiff made a second complaint in or around February

2018, claiming DeVries made sexually explicit statements and made unwanted physical contact

with her elbow, neither of which were substantiated following an investigation. Amazon denies

the remaining allegations in Paragraph 33.



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       34.     Plaintiff performed her duties in a satisfactory manner and has been a good

employee for Defendant.

       ANSWER:         Defendant denies the allegations in Paragraph 34.

       35.     During the time that Plaintiff worked in 2017 and 2018, De Vries regularly and

loudly made offensive, racist, and sex-charged comments and engaged in inappropriate and

unwelcome touching to Plaintiff and other employees of Defendant. De Vries said things like,

“yeah, I’m walking with my black bitches.,’· and ‘‘‘my dog Pepper is the same color as Doris”

black ass, right Doris?” and “Hey. Doris, do you know how I’m going to get promoted at Amazon?

I’m going to suck d**ks, lots ofd**ks, that’s how!” and “yeah, me and Doris, are fu**ing” and

“F**k you bi**hes. Kiss my as*, I said you can just kiss my as*_,. He came up behind Plaintiff

making sniffing noises, and said “oh, you smell so fu**ing good!.’

       ANSWER:         Amazon denies the allegations in Paragraph 35.              Answering further,

Amazon states that its investigations did not substantiate any comments made by DeVries toward

Plaintiff. Amazon denies the remaining allegations in Paragraph 35.

       36.     Initially Plaintiff and her female co·workers attempted to get De Vries to stop his

abusive, unwanted, and unlawful behavior. Plaintiff and other employees took De Vries aside and

spoke to him asking for him to stop as it was offensive and inappropriate. De Vries’ response to

Plaintiff and other employees was that he had behaved the same way all of his life and nobody was

going to change him.

       ANSWER:         Amazon lacks knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 36 and, therefore, denies the allegations.

       37.     During the second week in December 2017, Plaintiff went to Human Resources and

spoke with Caroline unknown last name. Plaintiff started to state that she needed to talk to the HR



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rep about Noah De Vries and his behavior. Caroline said that she expected that she knew what

Plaintiff was going to say. Caroline told Plaintiff that they had a few bad complaints about him.

Caroline told Plaintiff that she would speak with Joe Lee, Human Resource Manager, and get back

to Plaintiff. Plaintiff did not hear back from anyone in Human Resources including Joe Lee or

Caroline relating to her complaint.

       ANSWER:         Amazon denies the allegations in Paragraph 37.

       38.     Later in December, De Vries loudly and in the presence of coworkers, told Plaintiff

that he could tell what was wrong with Black skin because it’s shiny all the time:, and he made a

comment about nappy hair.. Plaintiff asked De Vries if he was racist. De Vries said, ‘“I’m not a

racist, Doris. Do you want to know how many black d**ks that’s been up my as***le? I love me

some black d**k, cause black guys’ d**ks are huge, and they really know how to f’u’*k me real

good.” De Vries said this often to Plaintiff and other employees of Defendant. After the comments,

De Vries started twerking, backing into Plaintiff. De Vries made intentional contact with Plaintiff

at this time without her consent.

       ANSWER:         Amazon denies the allegations in Paragraph 38.          Answering further,

Amazon states that its investigations did not substantiate any comments made by DeVries toward

Plaintiff. Amazon further states it terminated DeVries after he admitted to using inappropriate

language and touching other employees (not Plaintiff) without their consent.

       39.     One of Defendant’s employees who has the title of Ambassador, whose name was

Olga (unknown last name), witnessed what occurred. Olga pulled De Vries away from Plaintiff to

talk to him., Olga then came to Plaintiff and |told Plaintiff to report the incident to Human

Resources right away. Plaintiff went to Human Resources and reported the incident to Caroline.

Caroline told Plaintiff she would need to speak with Michelle Gong.



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       ANSWER:         Amazon lacks knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 39 and, therefore, denies the allegations.

       40.     During the investigation into Plaintiff’s complaint, Defendant did not interview

Olga and ignored the fact that she witnessed De Vries’ actions.

       ANSWER:         Amazon denies the allegations in Paragraph 40.

       41.     On January 17, 2018, Plaintiff’s manager, Katie Poorten, approached Plaintiff and

asked Plaintiff to speak with Ashley Jimenez in Human Resources. Plaintiff began explaining

De Vries behavior to Jiminez. Plaintiff was unaware of De Vries last name at that time. Jimenez

refused to take information from Plaintiff that was relevant to a claim for discrimination. Jiminez

refused to add Noah’s name in the complaint and said that since Plaintiff she was not sure who

“Noah” was and would not put his name in the complaint. Plaintiff stated she knew who he was.

Plaintiff also wanted to add more incidents to the complaint, but Jimnez refused to add the

incidents.

       ANSWER:         Amazon admits that, on or around January 17, 2018, Ashley Jimenez

interviewed Plaintiff as part of its investigation into Plaintiff’s complaint.      Amazon lacks

knowledge or information sufficient to form a belief as to the truth of the remaining allegations in

Paragraph 41 and, therefore, denies the allegations.

       42.     Poorten was a friend of De Vries and protected him.

       ANSWER:         Amazon lacks knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 42 regarding whether Poorten was a “friend” of DeVries and,

therefore, denies the allegations. Amazon denies the remaining allegations in Paragraph 42.




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       43.     Poorten’s treated Plaintiff poorly due to Plaintiff filing a report against De Vries.

Plaintiff was forced to file a complaint against Poorten due to her actions, intimidation and

retaliation Plaintiff experienced.

       ANSWER:         Amazon denies the allegations in Paragraph 43.

       44.     On January 26, 2018, Plaintiff supervisor, Poorten called Plaintiff aside and talked

to Plaintiff about her production rate. Poorten said that the investigation was completed. Plaintiff

doubted that Defendant was able to investigate the matter properly as she had not been contacted

and it was a short time. No one spoke with Plaintiff about her about the investigation results.

       ANSWER:         Amazon admits that Poorten provided Plaintiff with feedback and coaching

regarding her productivity performance. Amazon further admits that Plaintiff was interviewed by

Ashley Jimenez as part of its investigation on or around January 17, 2018. Defendant denies the

remaining allegations in Paragraph 44.

       45.     After Plaintiff submitted her initial written complaint, Plaintiff witnessed De Vries

cup his hands under coworker Brandy Payne’s breast and “juggle” the woman’s breast.

       ANSWER:         Amazon denies the allegations in Paragraph 45.          Answering further,

Amazon states that on February 3, 2018, Plaintiff told Ashley Jimenez that Mr. DeVries, at one

point, made a sexual gesture related to Ms. Payne’s breasts. This comment was not substantiated

by Amazon’s investigation.

       46.     The following week, Defendant intentionally assigned De Vries to be Plaintiff’s

“problem solver‘ where he would work close to Plaintiff. Plaintiff believed the Company was

trying to harm her by putting De Vries to work with her after she lodged a complaint against him.

       ANSWER:         Amazon denies that it “intentionally assigned” DeVries to “work close” to

Plaintiff. Amazon lacks knowledge or information sufficient to form a belief as to the truth of the



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remaining allegations in Paragraph 46 what “Plaintiff believed” and, therefore, denies the

allegations.

       47.     While working with Plaintiff, De Vries approached Plaintiff and asked Plaintiff

why she wasn’t talking to him. Plaintiff replied that she was just doing her work and minding her

own business. De Vries continued speaking to Plaintiff telling her that Human Resources kept

calling him into their office, over and over again, to speak with him. He laughed and said that they

asked him a lot of questions, and he denied everything. DeVries said that he told Human Resources

that they did not have any recording and he claimed that he was being targeted and singled out

because he is gay. De Vries told Plaintiff that he threatened a lawsuit if he were fired.

       ANSWER:         Amazon lacks knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 47 and, therefore, denies the allegations.

       48.     Later that same shift, Supervisor Poorten ,,was playing music in their department.

As Plaintiff was speaking with a coworker, De Vries interrupted and asked if Plaintiff liked the

song that was playing. De Vries said “this is my favorite song! it reminds me of sex, because the

music is fast - it’s really fast..” Then, Mr. De Vries inappropriately caressed Plaintiff’s arm.

Plaintiff stepped back and said., “don’t touch me, Noah!” She asked De Vries if his mind was

always in the gutter. To which De Vries leaned over into Plaintiff’s and said, “my mind is in the

gutter?” Plaintiff replied yes and looked for Ms. Poorten. Plaintiff then went to find Poorten and

complaint to her the harassment she encountered from De Vries. Plaintiff made the Complaint to

Poorten. Poorten laughed at Plaintiff’s statements about De Vries and found it funny and laughed

aloud. Poorten wrote some notes down on a napkin and said she would report the incident to

Human Resources and arrange for Plaintiff to have a meeting with HR the next day. Later on,

Ashley (unknown last name) called Plaintiff into the Human Resources office. While Plaintiff was



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providing details of what occurred , Ashley became angry with Plaintiff about Plaintiff making a

report.

          ANSWER:       Amazon admits Plaintiff made a second complaint to Amazon in or around

February 2018, claiming DeVries made sexually explicit statements and made unwanted physical

contact with her elbow, neither of which were substantiated following an investigation. Amazon

denies the remaining allegations in Paragraph 48.

          49.   As Plaintiff was leaving the Human Resources office, Plaintiff was approached by

the head of operations, Sean (unknown last name). Sean told Plaintiff that he knew that she was

frustrated with Human Resources and Sean did not blame her. Sean told Plaintiff that he believed

everything she said and suggested that if Plaintiff punched out and went home, he would make

sure that Plaintiff was paid for her 10-hour shift.

          ANSWER:       Amazon lacks knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 49 and, therefore, denies the allegations.

          50.   On February 5, 2018, Joe Lee, Human Resources Manager. sent Plaintiff an email,

letting her know that she could stay home and be paid for all scheduled time until they completed

their investigation.

          ANSWER:       The allegations in Paragraph 50 purport to characterize an email. Amazon

denies those allegations to the extent they mischaracterize and do not fully represent the email, to

the extent it exists.

          51.   On February 12, 2018., Plaintiff received an email from Mr. Lee advising her that

Amazon had closed its investigation and that they had “taken appropriate actions based on these

investigations and would like to discuss her returning to work. Defendant indicated that Plaintiff’s

complaints were unsubstantiated. Defendant failed to use the surveillance cameras throughout the



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facility that should have substantiated her claims of De Vries inappropriate physical contact

Plaintiff and others. Plaintiff was offered the opportunity to work on other shifts. Plaintiff could

not work on other shifts as she cares for her mother.

         ANSWER:       A portion of the allegations in Paragraph 51 purport to characterize an

email. Amazon denies those allegations to the extent they mischaracterize and do not fully

represent the email, to the extent it exists. Amazon denies the remaining allegations in Paragraph

51.

         52.   Plaintiff returned to work in mid-February. On her first clay [sic] back, during a

‘·huddle” at the beginning of her shift, De Vries put a water bottle between his legs and walked up

behind employee Amanda (“Unknown last name”) and stuck the bottle into her posterior.

         ANSWER:       Amazon admits Plaintiff returned from her paid leave of absence in mid-

February. Amazon lacks knowledge or information sufficient to form a belief as to the truth of the

remaining allegations in Paragraph 52 and, therefore, denies the allegations.

         53.   Poorten engaged in retaliatory conduct toward Plaintiff. Poorten pulled Plaintiff off

the line with increased frequency in front of other employees and spoke with Plaintiff in a loud

voice When Poorten pulled Plaintiff off the line, the effect was to have boxes pile up on Plaintiff

side which would force Plaintiff to fall behind. Defendant failed to get Plaintiff help for such

situations. The actions of Poorten caused Plaintiff to fall behind work intentionally to create issues

for Plaintiff. Additionally, in a way to retaliate against Plaintiff for making a complaint of

discrimination, other managers of Defendant would come up to Plaintiff while she was working

and told Plaintiff that she was doing things wrong even though Plaintiff was not doing anything

wrong. The managers were working in concert to closely scrutinize Plaintiff’s her. On March 9,




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Plaintiff learned that Poorten assigned one of the auditors to “keep an eye on” Plaintiff as a way

to scrutinize Plaintiff’s work more closely.

       ANSWER:         Amazon denies the allegations in Paragraph 53.

       54.     On March 10, 2018, Plaintiff due to the actions of De Vries went on short term

disability. Plaintiff became ill due to De Vries actions of sexual and racial harassment of her.

Plaintiff experienced high levels of stress and anxiety due to De Vries actions and the mistreatment

from Amazon. Plaintiff blood pressure due to the acts of Defendant and De Bries became

excessively high and dangerous to her health.

       ANSWER:         Amazon admits Plaintiff went on a medical leave of absence, beginning

March 10, 2019. Amazon lacks knowledge or information sufficient to form a belief as to

Plaintiff’s specific medical conditions and/or symptoms, including whether Plaintiff “became ill,”

“experienced high levels of stress and anxiety,” or that her “blood pressure ... became excessively

high and dangerous to her health,” and therefore denies the allegations. Amazon denies the

remaining allegations in Paragraph 54. Amazon further denies it engaged in any unlawful conduct.

       55.     Defendant had a new investigation into De Vries’ behavior while Plaintiff was on

her leave of absence. One of Plaintiff’s coworkers. Nidra Williams was called at the end of May

while she was on vacation to answer questions by Michelle Gong. On June 8. Plaintiff received an

email from Alexa Perrin, Executive Escalations Intake Coordinator. Williams was called into the

Human Resources office when she returned from vacation to speak further with Ms. Gong.

Defendant was informed that De Vries threatened in a very loud manner that if anyone causes him

to lose his job, he would fu**ing kill them. Williams heard De Vries telling a coworker “do you

know that Black as* bi**h Doris tried to get me fired?!’




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       ANSWER:        Amazon admits its second investigation into DeVries behavior was

conducted during Plaintiff’s leave of absence and as part of that investigation, Amazon contacted

Nidra Williams. The allegations in the third sentence of Paragraph 55 purport to characterize an

email. Amazon denies those allegations to the extent they mischaracterize and do not fully

represent the email, to the extent it exists. Amazon denies the remaining allegations in Paragraph

55. Answering further, Amazon states that Plaintiff alleged Mr. DeVries made threats toward

whomever report him, but these comments were not substantiated by Amazon’s investigation.

       56.     Defendant after an investigation into De Vries actions in May/June 2018

investigation stated it would transfer the women who complained of Mr. De Vries’ harassment to

another department. De Vries was left employed in his same department. Even though De Vries

was on a final written warning, Defendant still failed to fire De Vries or even stop his actions.

Defendant allowed De Vries to continue humiliate and abuse other employees of Defendant.

       ANSWER:        Amazon denies the allegations in Paragraph 56.

       57.     On June 7, 2018, Defendant transferred a number of African American and

Hispanic women who had worked with Plaintiff in the inbound department to Outbound. The

Outbound department was a more physical job and less desirable. The reason Defendant

transferred the woman was because Defendant refused to discipline De Vries’ properly and wanted

to keep De Vries employed. The transfer of the woman was done to force the woman to do a harder

job and so Defendant would discourage employees from making claims of discrimination against

their employer.

       ANSWER:        Amazon denies the allegations in Paragraph 57.

       58.     Plaintiff returned to work in early July 2018. Her performance was excellent.




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       ANSWER:         Amazon admits Plaintiff returned from her leave of absence on or around

July 4, 2018. Amazon denies the remaining allegations in Paragraph 58.

       59.      When Plaintiff returned in July 2018, Defendant told Plaintiff she was being

transferred to the Outbound, but that Defendant needed to give her two weeks’ notice, so she

worked in her usual department. July 7, 2018. Defendant intentionally assigned De Vries to work

next to Plaintiff as her “problem solver.” Plaintiff found this unacceptable and retaliation as

Defendant was requiring her to be around the person who threatened to harm her and others if they

got him fired, offensive touched the plaintiff on several occasions and made rude, racist, and

sexually offensive comments to Plaintiff. Due to the unsafe work environment, Plaintiff punched

out and filed a complaint with Human Resources.

       ANSWER:         Amazon denies the allegations in Paragraph 59.

       60.      Defendant has a no tolerance policy for sexual or racial harassment.

       ANSWER:         Defendant admits the allegations in Paragraph 60.

       61.      Defendant violated its policies for sexual or racial harassment in how they treated

De Vries.

       ANSWER:         Defendant denies the allegations in Paragraph 61.

       62.      Defendant had at least 4 different people make complaints about De Vries in 2017

and 2018 that he made racially inappropriate remarks and sexually harassed other employees.

       ANSWER:         Defendant admits several employees complained about DeVries, but denies

Plaintiff’s characterization of the complaints. Defendant denies the remaining allegations in

Paragraph 62.




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       63.     Near the end of July 2018, De Vries had not been seen by other employees at

Defendant’s work. Defendant told employees that De Vries was fired for touching a male

employee.

       ANSWER:         Defendant admits DeVries was terminated from his employment, effective

August 2, 2018. Defendant denies the remaining allegations in Paragraph 63.

       64.     After Plaintiff made her complaints of discrimination, Plaintiff experienced other

forms of adverse employment actions by Defendant. Other adverse employment actions against

the Plaintiff by Defendant included

       a.      Closer supervision of the Plaintiff

       b.      Closer Scrutiny of Plaintiff’s work

       c.      Defendant denied Plaintiff job promotions and training. Plaintiff applied for a job

as a tugger but Defendant failed to interview or notify Plaintiff about the job.

       d.      Plaintiff made requests to transfer to other positions and shifts but Defendant denied

Plaintiff transfers or other positions. Other employees who were similarly situated were allowed

to transfer or move to other positions that did not make a complaint of discrimination of Defendant.

       e.      Defendant denied Plaintiff training so that Plaintiff could move to other jobs.

       f.      Defendant forced Plaintiff to work alone in the Tugger job when Defendant

required two employees to do said job.

       ANSWER:         The allegations in Paragraph 64, including subparts (a) through (f),

constitute legal conclusions to which no response is required. To the extent a response is required,

Amazon denies the allegations in Paragraph 64.

       65.     The actions of Defendant damaged the Plaintiff.

       ANSWER:         Defendant denies the allegations in Paragraph 65.



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       66.     Defendant’s discriminatory conduct toward Plaintiff was intentional, and it

engaged “with malice or with reckless indifference to the federally protected rights” of Plaintiff.

       ANSWER:         Amazon denies it engaged in unlawful conduct and denies the remaining

allegations in Paragraph 66.

                                      COUNT 1 TITLE VII

       67.     Plaintiff realleges paragraphs 1-66 in Count I as set forth herein.

       ANSWER:         Amazon restates and reincorporates its answers to Paragraphs 1 through 66

as though fully set forth herein.

       68.     42 USC § 2000e et. Seq. makes it illegal to discriminate against someone because

of their sex, race, or color. 42 USC § 2000e-2(a)(1) makes it an unlawful employment practice for

an employer to discharge any individual, or otherwise to discriminate against any individual with

respect to their compensation, terms, conditions, or privileges of employment, because of such

individual’s sex, race, or color.

       ANSWER:         The allegations in Paragraph 68 purport to characterize portions of Title VII

of the Civil Rights Act of 1964 (“Title VII”). Amazon denies those allegations to the extent they

mischaracterize and do not fully represent the statutes.

       69.     Defendant received several sexual harassment complaints from female employees

about De Vries in 2017 and 2018.

       ANSWER:         Defendant denies the allegations in Paragraph 69 as written. Answering

further, Amazon states that it received complaints related to DeVries. Amazon further states that

it terminated DeVries after he admitted to using inappropriate language and touching other

employees (not Plaintiff) without their consent.




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           70.   Defendant did not fire De Vries until a male employee was touched or subjected to

sexual harassment by De Vries in approximately July 2018.

           ANSWER:      Amazon admits that it terminated DeVries after he admitted to using

inappropriate language and touching other employees (not Plaintiff) without their consent.

Amazon denies the remaining allegations in Paragraph 70.

           71.   Defendant’s differences in treatment of Plaintiff’s terms and conditions of

employment violated 42 USC § 2000e-2(a)(1).

           ANSWER:      Amazon denies the allegations in Paragraph 71.

                         COUNT 2 HOSTILE WORK ENVIRONMENT

           72.   Plaintiff realleges paragraphs 1-71 in Count II as set forth herein.

           ANSWER:      Amazon restates and reincorporates its answers to Paragraphs 1 through 71

as though fully set forth herein.

           73.   42 USC § 2000e et. makes it unlawful discrimination to sexually harass or create a

hostile work environment for an employee based upon their race, color, or sex.

           ANSWER:      The allegations in Paragraph 73 purport to characterize portions of Title VII.

Amazon denies those allegations to the extent they mischaracterize and do not fully represent the

statute.

           74.   While employed by Defendant Plaintiff was subjected to unwelcome conduct on

the basis of Plaintiff’s race, color and/or sex that had the purpose or effect of substantially

interfering with Plaintiff’s work performance and/or created an intimidating, hostile, or offensive

working environment.

           ANSWER:      Amazon denies the allegations in Paragraph 74.




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       75.     The conduct which Plaintiff endured from De Vries and others who worked for

Defendant was sufficiently severe or pervasive that a reasonable person in Plaintiff’s position

would find Plaintiff’s work environment to be hostile or abusive.

       ANSWER:         Amazon denies the allegations in Paragraph 75.

       76.     At the time the conduct occurred, Plaintiff believed that the conduct made her work

environment hostile and/or abusive.

       ANSWER:         Amazon lacks knowledge or information sufficient to form a belief as to the

truth of the allegations regarding Plaintiff’s personal beliefs and, therefore, denies the allegations.

Amazon denies the remaining allegations in Paragraph 76.

       77.     The statements and actions by De Vries and others who worked for Defendant were

done on a regular basis and interfered with Plaintiff’s ability to do her job and interfered with her

ability to do work while working for Defendant. The acts of De Vries and other employees of

Defendant became so severe, Plaintiff had to take medical leave.

       ANSWER:         Amazon denies the allegations in Paragraph 77.

       78.     De Vries threatened employees, assaulted employees placing them in reasonable

fear of their safety and also physically touched employees in a sexual manner without their consent.

Defendant was aware of this but failed to take remedial actions in a timely manner.

       ANSWER:         Amazon denies the allegations in Paragraph 78.

       79.     The derogatory statements and actions of De Vries were offensive, uninvited, and

not welcomed by Plaintiff.

       ANSWER:         Amazon denies the allegations in Paragraph 79.

       80.     Defendant knew or should have known about the conduct alleged in this Complaint

that were done to Plaintiff.



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           ANSWER:      Amazon denies the allegations in Paragraph 80.

           81.   Defendant failed to take reasonable steps to correct the situation and/or prevent

harassment from recurring to Plaintiff and others who worked for Defendant.

           ANSWER:      Amazon denies the allegations in Paragraph 81.

                                    COUNT 3 RETALIATION

           82.   Plaintiff realleges paragraph 1-81 into Count III as set forth herein.

           ANSWER:      Amazon restates and reincorporates its answers to Paragraphs 1 through 81

as though fully set forth herein.

           83.   Title VII of the Civil Rights Act of 1964 , 42 U.S.C. § 2000e-3(a), makes it unlawful

employment practice for an employer to discriminate against any of his employees or to

discriminate against any individual because he has opposed any practice made an unlawful

employment practice.

           ANSWER:      The allegations in Paragraph 83 purport to characterize portions of Title VII.

Amazon denies those allegations to the extent they mischaracterize and do not fully represent the

statute.

           84.   Plaintiff was subjected to numerous forms of retaliation due to filing a complaint

of discrimination against Defendant. A short time after Plaintiff made a complaint relating to the

hostile work environment her supervisors began to closely scrutinize the Plaintiff and treat her

differently in an inferior way to other employees.

           ANSWER:      Amazon denies the allegations in Paragraph 84.

           85.   Additionally, Defendant retaliated against the Plaintiff on several other occasions

which included:

           a.    Closer supervision of the Plaintiff



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       b.      Closer Scrutiny of Plaintiff’s work

       c.      Assigned a person to watch Plaintiff’s work.

       d.      Defendant denied Plaintiff job promotions and training. Plaintiff applied for a job

as a tugger, but Defendant failed to interview or notify Plaintiff about the job.

       e.      Plaintiff made requests to transfer to other positions and shifts but Defendant denied

Plaintiff transfers or other positions. Other employees who were similarly situated were allowed

to transfer or move to other positions that did not make a complaint of discrimination of Defendant.

       f.      Defendant denied Plaintiff training so that Plaintiff could move to other jobs.

       g.      Defendant forced Plaintiff to work alone in the Tugger job when Defendant

required two employees to do said job.

       ANSWER:         Amazon denies the allegations in Paragraph 85.

       86.     Defendant’s actions to Plaintiff were done to Plaintiff in retaliation for Plaintiff

asserting her rights under TITLE VII ,42 U.S.C. § 2000e-3(a) and the retaliation provisions for 42

USC 1981.

       ANSWER:         Amazon denies the allegations in Paragraph 86.

                                       COUNT 4 USC 1981

       87.     Plaintiff realleges paragraph 1-86 into Count IV as set forth herein.

       ANSWER:         Amazon restates and reincorporates its answers to Paragraphs 1 through 86

as though fully set forth herein.

       88.     42 USC 1981 makes it unlawful for an employee to be treated interior to other

employees due to the employee’s race.




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        ANSWER:          The allegations in Paragraph 88 purport to characterize portions of Section

1981. Amazon denies those allegations to the extent they mischaracterize and do not fully

represent the statute.

        89.     The Plaintiff was a party to a contract with Defendant as an employee and

employer.

        ANSWER:          Amazon denies the allegations in Paragraph 89.

        90.     The plaintiff attempted but was unable to be promoted, gain skills, or enjoy all

benefits, privileges, terms, and conditions of the contractual relationship.

        ANSWER:          Amazon denies the allegations in Paragraph 90.

        91.     The Plaintiff’s inability to be promoted by Defendant, gain training, or enjoy all

benefits, privileges, terms, and conditions of the contractual relationship was “because of”

Defendant’s purposeful discrimination against the plaintiff on the basis of the plaintiff’s race.

        ANSWER:          Amazon denies the allegations in Paragraph 91.

        92.     Additionally, Defendant subjected Plaintiff to a hostile and abusive work

environment due to Plaintiff’s race, Black.

        ANSWER:          Amazon denies the allegations in Paragraph 92.

        WHEREFORE, Plaintiff, Doris Nelson, prays that this Court (i) declare that the

employment practices complained of in this complaint are unlawful in that they violate Title VII;

(ii) permanently enjoin the Defendant and its agents, officers and employees from engaging in all

practices found by this Court to be in violation of Title VII; (iii) order the Defendant to make the

Plaintiff whole including any fees for her medical bills and lost pay, and other monetary and non-

monetary benefits, and prejudgment interest, all in amounts to be proved at trial; (iv) order that the

Defendant pay Plaintiff a sum in excess of $300,000 as compensatory and punitive damages;



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(v) retain jurisdiction over this action to ensure full compliance with the Court’s orders and require

the Defendant to file such reports as the Court deems necessary to evaluate such compliance;

(vi) order the Defendant to pay Plaintiff’s costs and expenses and reasonable attorneys’ fees as

provided in the statutes incorporated herein in connection with this action; and (vii) order

Defendant to pay the penalties (viii) grant such other and further relief to the Plaintiff as the Court

deems just and proper.

        ANSWER:          Amazon denies all the allegations and assertions contained in Plaintiff’s

unnumbered Wherefore Paragraph, including subparts (i) through (viii), and specifically denies

that Plaintiff is entitled to any relief whatsoever.

                                          JURY DEMAND

        PLAINTIFF DEMAND A JURY RELATING TO THIS MATTER.

        ANSWER:          Amazon admits Plaintiff demands a trial by jury, but denies her claims are

eligible for a jury trial.


                             AFFIRMATIVE AND OTHER DEFENSES

        Amazon asserts the following defenses without conceding that it bears the burden of proof

as to any of the following defenses. Amazon reserves the right to assert such additional defenses

that may appear and prove applicable during the course of this litigation.

        1.       Plaintiff’s claims are barred, in whole or in part, because Plaintiff fails to state a

claim upon which relief can be granted.

        2.       Plaintiff’s claims are barred in whole or in part by any and all applicable statues of

limitations. To the extent Plaintiff failed to assert some or all of her claims in a timely fashion,

such claims are time-barred.




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       3.      Plaintiff’s claims are not actionable because the challenged employment decisions

are justified by legitimate, non-discriminatory, non-retaliatory, and non-pretextual business

reasons not related to Plaintiff’s race, color, sex, or any other alleged protected category or any

allegedly protected activity (if any) by Plaintiff including, without limitation, because Plaintiff

violated Amazon policies.

       4.      Amazon exercised reasonable care to prevent and promptly correct any allegedly

discriminatory or retaliatory conduct, by among other things, providing regular training to

supervisors and managers regarding Amazon’s policies against discrimination and retaliation,

making its policies against discrimination and retaliation accessible to Plaintiff and other

employees, encouraging employees to report inappropriate conduct, investigating reports of

inappropriate conduct, investigating reports of inappropriate conduct, and taking steps to correct

such conduct if and when it occurs.

       5.      Amazon denies that it was motivated by any impermissible motive in any decision

or actions concerning Plaintiff, but it affirmatively pleads that it would have made the same

decisions or taken the same actions in the absence of any impermissible motive.

       6.      Amazon denies that any of its employees or agents, acting within the course and

scope of their employment or agency, violated any statute, regulation, constitutional provision,

common law or public policy or cause any damage or injury to Plaintiff. Any unlawful conduct

allegedly engaged in by Amazon’s employees, supervisory or otherwise, was outside the scope of

their employment, contrary to Amazon’s policies, and was not ratified, confirmed, or approved by

Amazon.

       7.      Amazon acted at all times in good faith and consistently maintained, implemented,

and enforced its workplace policy against discrimination, retaliation, and harassment, and



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otherwise exercised reasonable care to prevent and correct promptly any claims of discrimination,

retaliation, or harassment.

        8.      To the extent that Plaintiff seeks punitive damages, Plaintiff’s claims for punitive

damages are barred because the alleged acts or omissions of Amazon do not rise to the level

required to sustain an award of punitive damages, and because any alleged discriminatory or

retaliatory employment decisions were contrary to Amazon’s good-faith efforts to comply with

state and federal laws regarding anti-discrimination and anti-retaliation. Defendant did not act

with malice or reckless indifference to Plaintiff’s legally protected rights and/or Plaintiff cannot

prove a willful violation. Further, Plaintiff is precluded from recovering punitive damages because

an award of punitive damages would be an unconstitutional denial of Defendant’s rights to due

process and/or equal protection under the Fifth and Fourteenth Amendments.

        9.      Plaintiff’s claims are barred, in whole or in part, by the doctrine of laches and

estoppel.

        10.     Plaintiff’s claims are barred, in whole or in part, by the doctrine of unclean hands.

        11.     Any emotional distress allegedly suffered by Plaintiff was not caused by Amazon

or any of its agents.

        12.     Plaintiff’s claims are barred or diminished to the extent she has failed to mitigate

or minimize her damages.

        13.     Amazon consistently maintained, implemented, and enforced policies in the

workplace against discrimination, harassment and retaliation, and otherwise exercised reasonable

care to prevent and correct promptly any claims of alleged discrimination, harassment, or

retaliation.   Plaintiff unreasonably failed to take advantage of preventive and corrective

opportunities or to avoid harm otherwise.



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        14.     Plaintiff’s claims may be barred, in whole or in part, because any damages or losses

that Plaintiff has alleged, if they exist at all, were proximately caused or contributed by the conduct

of Plaintiff.

        15.     To the extent that Plaintiff has received any income from other employment or any

other sources, such monies must be offset against any damages allegedly due to Plaintiff from

Amazon.

        16.     To the extent during the course of this litigation Amazon acquires any evidence of

additional wrongdoing by Plaintiff, which wrongdoing would have materially affected the terms

and conditions of Plaintiff’s employment or would have resulted in Plaintiff either being demoted,

disciplined, or terminated, such after acquired evidence shall bar Plaintiff on liability or damages

or shall reduce any right to relief as provided by law.

        17.     Amazon reserves the right to assert additional defenses as discovery reveals further

information or as Plaintiff’s claims are clarified.

        WHEREFORE, Amazon respectfully requests that this Court dismiss Plaintiff’s First

Amended Complaint with prejudice, enter judgment in favor of Amazon, and award Amazon its

costs, including reasonable attorneys’ fees and such other relief as this Court may deem just and

appropriate.


 Dated: November 21, 2024                   Respectfully Submitted,

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                               CERTIFICATE OF SERVICE

       I hereby certify that on November 21, 2024, the foregoing was electronically filed with the

Clerk of the Court using the Court’s CM/ECF system, which will provide electronic service to all

counsel of record.



                                                            /s/ Stephanie L. Sweitzer
                                                            Stephanie L. Sweitzer
